                 Case
'AO 247 (02/08) Order    6:96-cr-00007-BAE-GRS
                      Regarding Motion for Sentence Reduction   Document 270 Filed 05/29/08 Page 1 of 1

                                     UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Southern District of Georgia
                                                                                                                  MUO: 17
                   United States of America                          )
                               v.                                    )                                                ______
                                                                     ) Case No: CR696-00007-Q04
                          David L. Burke
                                                                     ) USMN0: 47483-019
Date of Previous Judgment: January 24, 2002                          ) Bruce S. Harvey
(Use Date of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of         the defendant     the Director of the Bureau of Prisons         flthe
                                                                                              court under 18 U.S.C.
§ 35 82(c)(2) for a reduction in the term of imprisonment imposed   based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
             DENIED.            GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                                                       162
                             the last judgment issued) of          months is reduced to          156 months

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     34                                         Amended Offense Level:      32
Criminal History Categoiy: III                                         Criminal History Category: 111
Previous Guideline Range:   188                 to 235 months          Amended Guideline Range 151 to 188 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
 II Other (explain); The Court has granted the defendant's motion for reduction of sentence; however, the Court notes it
                      was very lenient at the time a Rule 35 reduction was ordered in this case. As such, the Court has
                      only reduced the defendant's sentence by an additional six moths.



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated January 24, 2002,                   shall remain in effect.
IT IS SO ORDERED.

Order Date:        May 29, 2008                                                                        a                     1
                                                                             I/eSU ture                           /


                                                                       B. Avant Edenfield
                                                                       United States District Judge
EffectiveDate: _______________________                                 For the Southern District of Georgia
                    (if different from order date)                                       Printed name and title
